            Case 8:19-cv-01944-GJH Document 70 Filed 10/09/19 Page 1 of 7




                    IN THE UNITED STATES DISTRICT COURT
              FOR THE DISTRICT OF MARYLAND, SOUTHERN DIVISION


J.O.P. (by and through Next Friend G.C.P.),
M.A.L.C., M.E.R.E., and K.A.R.C., on behalf
of themselves as individuals and on behalf of
others similarly situated,

                Plaintiffs,

       v.                                          Civil Action No. 8:19-CV-01944-GJH

U.S. DEPARTMENT OF HOMELAND
SECURITY, KEVIN MCALEENAN (in his
official capacity as Acting Secretary of
Homeland Security), U.S. CITIZENSHIP &
IMMIGRATION SERVICES, and
KENNETH CUCCINELLI (in his official
capacity as Acting Director of U.S. Citizenship
& Immigration Services)

                Defendants.


   PLAINTIFFS’ CONSENTED-TO MOTION FOR A PRELIMINARY INJUNCTION

       Plaintiffs J.O.P. (by and through next friend, G.C.P.), M.A.L.C., M.E.R.E., and K.A.R.C.

(“Plaintiffs”) hereby move the Court to convert the temporary restraining order currently in place

into a preliminary injunction. Defendants consent to the requested relief.

       This case concerns a May 31, 2019 USCIS memorandum that required asylum officers to

redetermine whether asylum applicants met the statutory definition of unaccompanied alien child

(“UAC”) at the time of first filing their asylum applications. If USCIS determined that an

individual did not satisfy the definition on the date of filing the application, USCIS was to

decline jurisdiction over the asylum application and could conclude that the applicant was not

entitled to an exemption from the one-year deadline for filing asylum applications. This new
          Case 8:19-cv-01944-GJH Document 70 Filed 10/09/19 Page 2 of 7



policy applied to all USCIS decisions issued on or after June 30, 2019, thereby affecting asylum

applicants who acted in reliance on USCIS’s previous policy, which it has followed since 2013.

See D.I. 14-1 at 11-12. Under the 2019 policy, USCIS could reject an asylum application for

lack of jurisdiction even though the applicant was entitled to pursue asylum before USCIS based

on the previous 2013 policy, and in some instances, applicants would lose their ability to pursue

asylum entirely by virtue of the one-year bar. See D.I. 14-1 at 3.

       On August 2, 2019, the Court granted Plaintiffs’ Motion for Temporary Restraining

Order. D.I. 55. The Court held that Plaintiffs are likely to succeed on their claims that (1)

“USCIS failed to engage in the required notice-and-comment procedure for rulemaking,” D.I. 54

at 10-11, and (2) “the redetermination policy is arbitrary and capricious in violation of the APA

because USCIS failed to consider serious reliance interests engendered by the agency’s

longstanding prior policy,” id. at 12-13. The Court also acknowledged that “Defendants consent

to the named Plaintiffs’ requested temporary relief as to their due process claim on the issue of

retroactive application of the policy.” Id. at 8.

       The Court also held that Plaintiffs have “met their burden to demonstrate that the

redetermination policy will cause irreparable harm if the status quo is not maintained,” including

because “individuals who relied on USCIS’s longstanding policy of not rescinding UAC status

may miss their opportunity to file for asylum all together if the one-year filing deadline from

which they would have otherwise been exempt is now imposed.” Id. at 14-15. Finally, the Court

found that the last “two factors—the balance of the equities and the public interest—merge here

because the Government is a party, and they favor maintaining the status quo.” Id. at 15.

       Plaintiffs now seek a preliminary injunction to maintain the status quo through the

duration of this litigation. The parties have agreed to multiple extensions of the temporary
         Case 8:19-cv-01944-GJH Document 70 Filed 10/09/19 Page 3 of 7



restraining order, currently set to expire on October 15, 2019, to allow time to negotiate a final

resolution of the case. See D.I. 60 (extended until September 3, 2019); D.I. 62 (extended to

September 24, 2019); D.I. 66 (extended to October 15). The limited duration of a temporary

restraining order presents uncertainty to Plaintiffs and proposed class members who reasonably

seek clarity on what policy USCIS will follow to determine jurisdiction over and adjudicate their

applications.   While the parties continue to discuss a final resolution, Plaintiffs seek to have a

preliminary injunction in place to provide certainty to Plaintiffs and the proposed class members,

to ensure that proposed class members are not harmed through application of the policy if the

temporary restraining order were to expire while this action remains pending, and to avoid

burdening the Court with additional requests for extensions of the temporary restraining order.1

        In support of this Motion for a Preliminary Injunction, Plaintiffs rely on their previously

submitted brief and declarations in support of their motion for a temporary restraining order. See

D.I. 14 (Memorandum in Support of Motion for a Temporary Restraining Order); D.I. 15

(Declaration of Brian Burgess, and supporting exhibits); D.I. 16 (Declaration of Elizabeth

Lopez); D.I. 17 (Declaration of Plaintiff K.R.C.); D.I. 19; (Declaration of Plaintiff M.A.L.C.);

D.I. 20 (Declaration of Plaintiff M.E.R.E.). The substantive standard for granting either a

temporary restraining order or a preliminary injunction is the same. See e.g., U.S. Dep’t of Labor

v. Wolf Run Mining Co., 452 F.3d 275, 281 n.1 (4th Cir. 2006).2 Accordingly, Plaintiffs request



1
  In requesting that the Court convert the temporary restraining order into a preliminary
injunction, Plaintiffs take no position regarding Defendants’ compliance with the temporary
restraining order. Plaintiffs specifically reserve the right to raise any issues regarding
compliance with this Court, including, but not limited to, issues regarding Defendants’ obligation
under the order to retract any decisions applying the 2019 UAC Memorandum and to reinstate
consideration of such cases to reflect USCIS policy applying the 2013 UAC Memorandum.
2
 Unlike a temporary restraining order, a preliminary injunction may be granted only when the
opposing party is fairly on notice of the motion. Hoechst Diafoil Co. v. Nan Ya Plastics Corp.,
         Case 8:19-cv-01944-GJH Document 70 Filed 10/09/19 Page 4 of 7



that the Court grant a preliminary injunction for the same reasons underlying the Court’s grant of

Plaintiffs’ motion for a temporary restraining order.

       A proposed order is attached which tracks the language of the existing temporary

restraining order. In accordance with Local Rule 105(9), Plaintiffs have conferred with counsel

for Defendants regarding Plaintiffs’ motion. Defendants consent to Plaintiffs’ motion and agree

on the language of the proposed order.




174 F.3d 411, 422 (4th Cir. 1999). The notice requirement is met here, including because
Defendants consent to the requested relief.
         Case 8:19-cv-01944-GJH Document 70 Filed 10/09/19 Page 5 of 7



Dated: October 9, 2019


Respectfully submitted,

/s/ Brian T. Burgess

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            Case 8:19-cv-01944-GJH Document 70 Filed 10/09/19 Page 6 of 7




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IMMIGRATION SERVICES, and
KENNETH CUCCINELLI (in his official
capacity as Acting Director of U.S. Citizenship
& Immigration Services)

                Defendants.


                                     [PROPOSED] ORDER

       UPON CONSIDERATION of the Plaintiffs’ Motion for a Preliminary Injunction, the

consent of the Defendants thereto, the record in this case, and the applicable law, it is this ____

day of October 2019, ORDERED that:

       1.       Plaintiffs’ Motion for a Preliminary Injunction is granted and that Defendants are,

during the pendency of this litigation and until further Order of this Court:

                a. enjoined and restrained from applying the asylum eligibility policy, as set forth

       in USCIS’s May 31, 2019 memorandum, to bar individuals previously determined to be

       unaccompanied alien children (“UACs”) from seeking asylum before the agency; and
           Case 8:19-cv-01944-GJH Document 70 Filed 10/09/19 Page 7 of 7



               b. enjoined and restrained from rejecting jurisdiction over the application of any

      UAC (as defined in the Homeland Security Act, 6 U.S.C § 279(g)(2)) under the

      Trafficking Victims Protection Act (“TVPRA”) whose application would have been

      accepted under the USCIS policy predating the May 31, 2019 memorandum;

               c. The Court has determined that provision of a security bond under Federal Rule

      of Civil Procedure 65(c) is unnecessary.

      2.       Defendant United States Citizenship and Immigration Services will retract any

adverse decision already rendered in an individual case applying the 2019 UAC Memorandum

and reinstate consideration of such case applying the 2013 UAC Memorandum.



Dated: ______________________                               ____________________________
                                                            HON. GEORGE J. HAZEL
                                                            United States District Judge
